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                                                                                   JUL 2 6 2013
                            UNITED STATES DISTRICT COURT                   Clerk, u. S. District Court
                            EASTERN DISTRICT OF TENNESSEE                 Eastern District of Tennessee
                                 OFFICE OF THE CLERK                              At Knoxville

                                          July 9, 2013
  Debra C. Poplin
  Clerk of the Court                                                800 Market Street, Suite 130
                                                                          Knoxville, TN 37902
  JOHN MEDEARIS
  Chief Deputy Clerk                                                            (865) 545-4228


  Roane County Circuit Court
  Kim Nelson, Clerk
  P.O. Box 73
  Kingston, TN 37763

  RE:    Cook et al.    v . Sun Healthcare Group et al.; 3: 12-cv-641

  To Whom It May Concern:

  The above styled case has been remanded to you pursuant to an Order of this Court
  signed by United States District Judge Thomas W. Phillips on July 9, 2013. Enclosed
  please find a certified _copy of the Final Order remanding this case and also a certified copy
  of the entire docket sheet.· Please date stamp the enclosed copy of this letter and return
  it in the envelope provided.

  Sincerely,

  Debra C. Poplin, Clerk


  BY: s/A. Foster
         Deputy Clerk
  /abf
  Enclosures




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